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 1    X avierM .B rand wajn (State B arN o.246218 )
      X avier.B rand wajn@ alston.com
 2    ALSTON & BIRD LLP
      1950 University A venu e,5th Floor
 3    E astP alo A lto,C A 9430 3-228 2
 4    Telephone:650 -8 38 -20 0 0
      Facsimile:650-8 38 -20 0 1
 5    M ichaelS.C onnor(pro hac vice)                          John F.C ambria(pro hac vice)
 6    M ike.C onnor@ alston.  com                              John. C ambria@ alston.com
      C hristopherC .Z iegler(pro hac vice)                    D avid W .Gou zou les (pro hac vice)
 7    C hris.Z iegler@ alston.com                              D avid .Gou zou les@ alston.com
      ALSTON & BIRD LLP
 8    101 Sou thTryon Street,Su ite 40 00                      ALSTON & BIRD LLP
                                                               90 P arkA venu e
 9    C harlotte,N C 28 28 0 -400 0                            N ew Y ork,N Y 100 16
      Telephone:7 0 4-444-10 0 0                               Telephone:212-210-940 0
10    Facsimile:7 0 4-444-1111                                 Facsimile:212-210-9444

11   A ttorneys forP laintiff
     M aqu etC ard iovascu larL L C
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13
14                                    UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
16                                                                C ase N o.
                                                                           :3:16-cv-0 7 213-W H A
     M A Q UE T C A RD IO V A SC UL A R L L C ,
17                                                                STIPULATION AND [PROPOSED]
                     P laintiff,                                  ORDER ON MOTION FOR DISMISSAL
18                                                                WITH PREJUDICE PURSUANT TO FED.
             v.                                                   R. CIV. P. 41(a)(1)(A)(ii)
19
     SA P H E N A M E D IC A L ,IN C .and
20   A L B E RT C H IN ,
21                   D efend ants.
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             STIP UL A TIO N A N D [P RO P O SE D ] O RD E R O N M O TIO N FO R D ISM ISSA L W ITH P RE J
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                                                C ase N o.3:16-cv-0 7 213-W H A
        Case 3:16-cv-07213-WHA Document 179 Filed 01/04/18 Page 2 of 3




 1            W H E RE A S,P laintiff M aqu etC ard iovascu lar L L C (“M aqu et”
                                                                                ) and D efend ants Saphena
 2    M ed ical,Inc.(“Saphena”
                             ) and D r.A lbertC hin (“D r.C hin”
                                                               ) (collectively,“D efend ants”
                                                                                            ) have

 3    resolved theirrespective claims and cou nterclaims in this case.

 4            N O W ,TH E RE FO RE ,M aqu etand D efend ants throu gh their attorneys of record ,hereby
 5    move for an ord er d ismissing allclaims by M aqu etand allcou nterclaims by D efend ants,with

 6    preju d ice,witheachparty to bearits own attorneys’fees and ex penses.

 7
 8   D ated :J
             anu ary 4,20 18                                          Respectfu lly su bmitted ,

 9     /s/K aren I.B oyd                                                  /s/M ichaelS .C onnor
10    Karen I.B oyd (SB N 18 98 0 8 )
                                                                       X avierM .B rand wajn (SB N 246218 )
      boyd @ tu rnerboyd .com                                          X avier.B rand wajn@ alston. com
11    TURN E R B O Y D L L P
      7 02 M arshallStreet,Su ite 640                                  D inahX .O rtiz (SB N 27 3556)
                                                                       D inah.O rtiz@ alston.com
12    Red wood C ity,C A 940 63                                        A L STO N & B IRD L L P
      Telephone:(650 )521-5930
      Facsimile: (650 )521-5931                                        1950 University A venu e,5thFloor
13                                                                     E astP alo A lto,C A 9430 3
                                                                       Telephone:(650 )8 38 -20 0 0
14    M ichaelH .B u nis (pro hac vice)
      mbu nis@ choate.  com                                            Facsimile:650 8 38 -20 0 1
15    P au lD .P opeo (pro hac vice)                                   M ichaelS.C onnor(pro hac vice)
      ppopeo@ choate.com
      M argaretE .Ives (pro hac vice)                                  M ike.C onnor@ alston. com
16                                                                     C hristopherC .Z iegler(pro hac vice)
      mives@ choate.  com                                              C hris.Z iegler@ alston.
                                                                                              com
17    W illiam M .Unsworth (pro hac vice)
      wu nsworth@ choate.   com                                        A L STO N & B IRD L L P
                                                                       101 Sou thTryon Street,Su ite 40 0 0
18    V anessaA .A rslanian (pro hac vice)                             C harlotte,N C 28 28 0
      varslanian@ choate.com
      D iane C .Seol(pro hac vice)                                     Telephone:(7 0 4)444-10 0 0
19                                                                     Facsimile:(7 0 4)444-1111
      d seol@ choate.com
20    C hristina T. L au (pro hac vice)
      clau @ choate.com                                                John F.C ambria(pro hac vice)
                                                                       John. C ambria@ alston.com
21    C H O A TE ,H A L L & STE W A RT L L P                           D avid W .Gou zou les (pro hac vice)
      Two InternationalP lace
      B oston,       M A              02110                            D avid .Gou zou les@ alston.
                                                                                                  com
22                                                                     A L STO N & B IRD L L P
      Telephone:(617 )248 -50 00                                       90 P arkA ve.
23    Facsimile: (617 )248 -40 00
                                                                       N ew Y ork,N Y 100 16
      A ttorneys forD efend ants-                                      Telephone:(212)210 -940 0
24                                                                     Facsimile:(212)210 -9444
      C ou nterclaimants
25    S A P H E N A M E D IC A L ,IN C .and
      A L B E RT C H IN                                                A ttorneys forP laintiff M A Q UE T
                                                                       C A RD IO V A S C UL A R L L C
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              STIP UL A TIO N A N D [P RO P O SE D ] O RD E R O N M O TIO N FO R D ISM ISSA L W ITH P RE J
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                                                 C ase N o.3:16-cv-0 7 213-W H A
        Case 3:16-cv-07213-WHA Document 179 Filed 01/04/18 Page 3 of 3




 1                                       DECLARATION OF CONSENT

 2          The u nd ersigned filerattests,pu rsu antto C ivilL .R.5-1(i)(3),thatconcu rrence in the filingof

 3   the d ocu menthas been obtained from the othersignatories to this d ocu ment.

 4
 5   D ated :J
             anu ary 4,2018                                     B y:/s/M ichaelS .C onnor
                                                                       M ichaelS.C onnor
 6
 7                                                      ORDER
 8          B ased u pon the stipu lation of the parties and good cau se appearing,allclaims and
 9
     cou nterclaims of this matterare hereby D ISM ISSE D W ITH P RE J
                                                                     UD IC E .E achparty to bearits
10
     own attorneys’fees and ex penses.
11
            IT IS SO ORDERED.
12
13
                  January
     D ated :_____________4_______,20 18                        ______________________________
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                                                                UN ITE D STA TE S D ISTRIC T J
                                                                                             UD GE
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                                                C ase N o.3:16-cv-0 7 213-W H A
